
681 S.E.2d 786 (2009)
Theodore Morris FOUST
v.
G.J. HAYNES, Correctional Admin.
No. 364P09.
Supreme Court of North Carolina.
September 4, 2009.
Theodore M. Foust-El, Pro Se.
Robert C. Montgomery, Special Deputy Attorney General, for G.J. Haynes Correctional Admin.

ORDER
Upon consideration of the application filed by Plaintiff on the 3rd of September 2009 in this matter for Writ of Habeas Corpus, the following order was entered and is hereby certified to the Superior Court, Guilford County:
"Denied by order of the Court in conference, this the 4th of September 2009."
